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 Management Services, Inc.

                         UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

 MARIA ANGELICA “ANGIE” CARBAJAL,
     Plaintiff,                                       Case No. 4:19-cv-00287-BLW
 vs.
                                  HAYES MANAGEMENT’S
 HAYES MANAGEMENT SERVICE, INC.;  CONCURRENCE WITH MOTION
 HAYES TAX & ACCOUNTING SERVICES, TO BIFURCATE, DKT #129
 INC.; and CHRIS HAYES,
        Defendants.
 HAYES MANAGEMENT SERVICE, INC.,
        Counter-claimant,
 vs.

 MARIA ANGELICA “ANGIE” CARBAJAL,
     Counter-respondent.

       Hayes Management Services, Inc. (the captioned defendant and counter-claimant)
submits this concurrence with the bifurcation of trial in this matter as requested by co-
defendant, Chris Hayes, i.e., Dkt #129. Hayes Management thinks it extremely unlikely
that a jury would find that those that voluntarily attended five or six tax-update classes,
one evening a week in November and early December of a year were “employees”,
particularly since employment is a contractual arrangement and all of the attendees in
question have signed affidavits disavowing the notion that they were employees then, as
too has Chris Hayes, the president of Hayes Management. The proper forum for the
plaintiff’s claims here are state court, as the 15-employee threshold for her federal claims


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is not met—and so a jury could find if that question is presented in a short, bifurcated
trial before the rest of the claims proceed to trial.




                                                           DATED: 2022-10-04
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